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                                         18                           UNITED STATES DISTRICT COURT
                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                         19
                                         20      SHERRY LERWICK                                        Case No: 5:14-CV-00993-CAS-AGR

                                         21                              PLAINTIFF,                    JOINT MOTION FOR DISMISSAL
                                         22      V.                                                    OF ACTION WITH PREJUDICE
                                                                                                       HON. CHRISTINA A. SNYDER
                                         23      CACH, LLC and MANDARICH
                                                 LAW GROUP, LLP,
                                         24
                                         25                              DEFENDANT.
                                         26
                                         27
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                                               ______________________________________________________________________________________________________
                                                JOINT MOTION FOR DISMISSAL                    - 1 of 2 -                  5:14-CV-00993-CAS-AGR
                                          Case 5:14-cv-00993-CAS-AGR Document 17 Filed 09/09/14 Page 2 of 2 Page ID #:51


                                          1
                                                     Plaintiff SHERRY LERWICK, (hereinafter “Plaintiff”) and Defendant CACH,
                                          2
                                              LLC   AND    MANDARICH LAW GROUP, LLP (hereinafter “Defendants”), (all jointly
                                          3
                                              hereinafter referred to as “the Parties”), hereby move to dismiss the above entitled
                                          4
                                              action with prejudice.
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                                              Dated: August 25, 2014                                   HYDE & SWIGART
                                          9
                                         10                                                     By: /s/ Crosby S. Connolly
                                                                                                   Crosby S. Connolly
                                         11                                                        Attorney for Plaintiff
                                         12
                                              Dated: August 25, 2014                                   MANDARICH LAW GROUP,
                                         13
HYDE & SWIGART




                                                                                                                         LLP
                 San Diego, California




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                                                                                                By: /s/ Elizabeth Grace Sutlian
                                         15                                                        Elizabeth Grace Sutlian
                                         16                                                        Attorney for Defendant

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                                         20                                       Signature Certification
                                         21
                                              Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
                                         22   and Procedures Manual, I hereby certify that the content of this document is
                                         23   acceptable to Elizabeth Grace Sutlian, counsel for Defendant, and that I have
                                              obtained Ms. Sutlian’s authorization to affix his electronic signature to this
                                         24   document.
                                         25
                                              Dated: August 25, 2014                                   HYDE & SWIGART
                                         26
                                                                                                By: /s/ Crosby S. Connolly
                                         27                                                        Crosby S. Connolly
                                         28                                                        Attorney for Plaintiff
                                               ______________________________________________________________________________________________________
                                                JOINT MOTION FOR DISMISSAL                    - 2 of 2 -                  5:14-CV-00993-CAS-AGR
